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United States Bankruptcy Court
Northern District of Texas

Inte | Rooftop Group International Pte. Ltd. Case Na, 1419-34443

 

 

Debtor(s) Chapter 41

 

LIST OF EQUITY SECURITY HOLDERS - AMENDED

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a}(3) for filing in this Chapter 1 t Case

 

Name and last known address or place of — Security Class Number of Securities Kind of Interest
business of holder

 

Asset Resolution Company SPC 30
42 North Chruch Street, 2nd Floor
Harbour Center KY1-9006, Cayman Islands

Gandiva Investments Limited 69
Trident Trust Company (BVI} Limited

Trident Chambers, P.O. Box 146

Road Town, Tortola

British Virgin tslands

Triumphant Gold Limited Offshore inc, Lt 1
Floor 4, Willow House, Cricket Square

PO Box 2804

Grand Cayman, K¥1-1112

Cayman Islands

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

1, the Director of the corporation named as the debtor in this case, declare under penalty of perjury that ] have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.

Date June 6, 2019 Signature —f 7 Joep
Dpifen Mat lott /

Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up Lo 5 years or both.
18 U.S.C. 8§ 152 and 3571,

 

 

Sheet i of | in List of Equity Security Holders
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